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FOR THE WESTERN DISTRICT 0F TENNESSEE 05 §
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Plaintiff,
vs. No. 04-2613¢Map

CENTRAL STATES COTTON CO. , E'l‘ AL.

Defendants.

 

ORDER AMENDING SCHEDULE

 

Pursuant to the May 19, 2005, joint motion filed by the
parties to modify the scheduling order in this matter, the court
held a status conference on June 13, 2005. Attending on behalf
of the plaintiff Was James King. Attending on behalf of the
defendant Was Whitney Fogerty. For good cause shown, the court

grants the motion and amends the scheduling order as follows:

l. The deadline for expert disclosures is July 15, 2005.

2. The deadline for completing discovery is September
15, 2005.

3. The deadline for completing mediation is October 14,

2005. The parties will report to the court on that
date on the status Of mediation efforts.

4. The deadline for filing potentially dispositive motions
is October 14, 2005.

5. The parties Will submit a proposed joint pretrial order

by 5:00 p.m. on January 131 2006. p“ 68
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6. A pretrial conference will be held on Friday, January
20, 2006, at 9:30 a.m.
7. The trial of this matter is reset to Monday, January

30, 2006, at 9:30 a.m.

Absent good cause, the amended schedule set by this order
will not be modified or extended.

So ORDERED this /S¢ day of June, 2005.

NJ/n/Ls_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-026]3 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

